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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

JOSHUA D. FENWICK,                                                                     Plaintiff,

v.                                                      Civil Action No. 3:16-cv-354-DJH-DW

RUSHMORE LOAN MANAGEMENT
SERVICES, LLC, et al.,                                                              Defendants.

                                          * * * * *

                                           ORDER

         Plaintiff Joshua D. Fenwick and Defendant Rushmore Loan Management Services, LLC

having filed a stipulation of dismissal with prejudice as to Plaintiff’s claims against Rushmore

Loan Management Services, LLC (Docket No. 96), and the Court being otherwise sufficiently

advised, it is hereby

         ORDERED as follows:

         1. Fenwick’s claims against Rushmore Loan Management Services, LLC are

              DISMISSED with prejudice.    The Clerk of Court is DIRECTED to terminate

              Rushmore Loan Management Services, LLC as a defendant in the record of this

              matter.

         2. All claims having been resolved (See D.N. 34; D.N. 47; D.N. 51), this matter is

              DISMISSED with prejudice and STRICKEN from the Court’s active docket.

 February 13, 2018




                                                          David J. Hale, Judge
                                                       United States District Court




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